Case 2:22-cv-01512-SPL Document 1-3 Filed 09/07/22 Page 1 of 35




                     EXHIBIT A
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                                                CV2022-010429
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Case 2:22-cv-01512-SPL Document 1-3 Filed 09/07/22 Page 4 of 35
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Case 2:22-cv-01512-SPL Document 1-3 Filed 09/07/22 Page 12 of 35
Case 2:22-cv-01512-SPL Document 1-3 Filed 09/07/22 Page 13 of 35




                      EXHIBIT B
       Case 2:22-cv-01512-SPL Document 1-3 Filed 09/07/22 Page 14 of of
                                                                Clerk 35the Superior Court
                                                                            *** Electronically Filed ***
                                                                                C. Cuellar, Deputy
                                                                              8/10/2022 1:03:08 PM
Person/Attorney Filing: John E Charland                                         Filing ID 14680298
Mailing Address: 202 East Earll Drive Suite 490
City, State, Zip Code: Phoenix, AZ 85012
Phone Number: (602)944-7499
E-Mail Address: litigation@CharlandLawFirm.com
[ ] Representing Self, Without an Attorney
(If Attorney) State Bar Number: 012089, Issuing State: AZ

                 IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                       IN AND FOR THE COUNTY OF MARICOPA

 Patrick Maley, et al.
 Plaintiff(s),                                          Case No. CV2022-010429
 v.
 Nuvo Residential, LLC DBA NuvoH2O,                     SUMMONS
 et al.
 Defendant(s).
To: Hydro Systems International, Inc.

 WARNING: THIS AN OFFICIAL DOCUMENT FROM THE COURT THAT
 AFFECTS YOUR RIGHTS. READ THIS SUMMONS CAREFULLY. IF YOU DO
 NOT UNDERSTAND IT, CONTACT AN ATTORNEY FOR LEGAL ADVICE.

 1. A lawsuit has been filed against you. A copy of the lawsuit and other court papers were
    served on you with this Summons.

 2. If you do not want a judgment taken against you without your input, you must file an
    Answer in writing with the Court, and you must pay the required filing fee. To file your
    Answer, take or send the papers to Clerk of the Superior Court, 201 W. Jefferson,
    Phoenix, Arizona 85003 or electronically file your Answer through one of Arizona's
    approved electronic filing systems at http://www.azcourts.gov/efilinginformation.
    Mail a copy of the Answer to the other party, the Plaintiff, at the address listed on the top
    of this Summons.
    Note: If you do not file electronically you will not have electronic access to the documents
    in this case.

 3. If this Summons and the other court papers were served on you within the State of
    Arizona, your Answer must be filed within TWENTY (20) CALENDAR DAYS from the
    date of service, not counting the day of service. If this Summons and the other court papers
    were served on you outside the State of Arizona, your Answer must be filed within
    THIRTY (30) CALENDAR DAYS from the date of service, not counting the day of
    service.
           Case 2:22-cv-01512-SPL Document 1-3 Filed 09/07/22 Page 15 of 35




        Requests for reasonable accommodation for persons with disabilities must be made to
 the court by parties at least 3 working days in advance of a scheduled court proceeding.

        GIVEN under my hand and the Seal of the Superior Court of the State of Arizona in
 and for the County of MARICOPA




SIGNED AND SEALED this Date:


Clerk of Superior Court

By:
Deputy Clerk



Requests for an interpreter for persons with limited English proficiency must be made to the division assigned to
the case by the party needing the interpreter and/or translator or his/her counsel at least ten (10) judicial days in
advance of a scheduled court proceeding.
If you would like legal advice from a lawyer, contact Lawyer Referral Service at 602-257-4434 or https://maricopabar.org. Sponsored by the Maricopa
County Bar Association.




                                                                           2
       Case 2:22-cv-01512-SPL Document 1-3 Filed 09/07/22 Page 16 of of
                                                                Clerk 35the Superior Court
                                                                            *** Electronically Filed ***
                                                                                C. Cuellar, Deputy
                                                                              8/10/2022 1:03:08 PM
Person/Attorney Filing: John E Charland                                         Filing ID 14680297
Mailing Address: 202 East Earll Drive Suite 490
City, State, Zip Code: Phoenix, AZ 85012
Phone Number: (602)944-7499
E-Mail Address: litigation@CharlandLawFirm.com
[ ] Representing Self, Without an Attorney
(If Attorney) State Bar Number: 012089, Issuing State: AZ

                 IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                       IN AND FOR THE COUNTY OF MARICOPA

 Patrick Maley, et al.
 Plaintiff(s),                                          Case No. CV2022-010429
 v.
 Nuvo Residential, LLC DBA NuvoH2O,                     SUMMONS
 et al.
 Defendant(s).
To: Nuvo Residential, LLC DBA NuvoH2O

 WARNING: THIS AN OFFICIAL DOCUMENT FROM THE COURT THAT
 AFFECTS YOUR RIGHTS. READ THIS SUMMONS CAREFULLY. IF YOU DO
 NOT UNDERSTAND IT, CONTACT AN ATTORNEY FOR LEGAL ADVICE.

 1. A lawsuit has been filed against you. A copy of the lawsuit and other court papers were
    served on you with this Summons.

 2. If you do not want a judgment taken against you without your input, you must file an
    Answer in writing with the Court, and you must pay the required filing fee. To file your
    Answer, take or send the papers to Clerk of the Superior Court, 201 W. Jefferson,
    Phoenix, Arizona 85003 or electronically file your Answer through one of Arizona's
    approved electronic filing systems at http://www.azcourts.gov/efilinginformation.
    Mail a copy of the Answer to the other party, the Plaintiff, at the address listed on the top
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    Note: If you do not file electronically you will not have electronic access to the documents
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    were served on you outside the State of Arizona, your Answer must be filed within
    THIRTY (30) CALENDAR DAYS from the date of service, not counting the day of
    service.
           Case 2:22-cv-01512-SPL Document 1-3 Filed 09/07/22 Page 17 of 35




        Requests for reasonable accommodation for persons with disabilities must be made to
 the court by parties at least 3 working days in advance of a scheduled court proceeding.

        GIVEN under my hand and the Seal of the Superior Court of the State of Arizona in
 and for the County of MARICOPA




SIGNED AND SEALED this Date:


Clerk of Superior Court

By:
Deputy Clerk



Requests for an interpreter for persons with limited English proficiency must be made to the division assigned to
the case by the party needing the interpreter and/or translator or his/her counsel at least ten (10) judicial days in
advance of a scheduled court proceeding.
If you would like legal advice from a lawyer, contact Lawyer Referral Service at 602-257-4434 or https://maricopabar.org. Sponsored by the Maricopa
County Bar Association.




                                                                           2
       Case 2:22-cv-01512-SPL Document 1-3 Filed 09/07/22 Page 18 of of
                                                                Clerk 35the Superior Court
                                                                          *** Electronically Filed ***
                                                                              C. Cuellar, Deputy
                                                                            8/10/2022 1:03:08 PM
Person/Attorney Filing: John E Charland                                       Filing ID 14680296
Mailing Address: 202 East Earll Drive Suite 490
City, State, Zip Code: Phoenix, AZ 85012
Phone Number: (602)944-7499
E-Mail Address: litigation@CharlandLawFirm.com
[ ] Representing Self, Without an Attorney
(If Attorney) State Bar Number: 012089, Issuing State: AZ


                    IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                                  IN AND FOR THE COUNTY OF MARICOPA

Patrick Maley, et al.
Plaintiff(s),                                          Case No. CV2022-010429
v.
Nuvo Residential, LLC DBA NuvoH2O,
                                                       CERTIFICATE OF
et al.                                                 COMPULSORY ARBITRATION
Defendant(s).
I certify that I am aware of the dollar limits and any other limitations set forth by the
Local Rules of Practice for the Maricopa County Superior Court, and I further certify that
this case IS NOT subject to compulsory arbitration, as provided by Rules 72 through 77 of
the Arizona Rules of Civil Procedure.


RESPECTFULLY SUBMITTED this


                                  By: John E Charland /s/
                                       Plaintiff/Attorney for Plaintiff
Case 2:22-cv-01512-SPL Document 1-3 Filed 09/07/22 Page 19 of 35




                      EXHIBIT C
      Case 2:22-cv-01512-SPL Document 1-3 Filed 09/07/22 Page 20 of 35



 1           Quarles & Brady LLP
                One Renaissance Square
               Two North Central Avenue
 2               Phoenix, AZ 85004
                   TELEPHONE 602.229.5200
 3
     Benjamin C. Nielsen (029689)
 4   Benjamin.nielsen@quarles.com
     Cale S. Johnson (035557)
 5   Cale.johnson@quarles.com
 6   Attorneys for Defendant Hydro Systems
     International, Inc.
 7
 8                                   IN THE UNITED STATES DISTRICT COURT
 9                                          FOR THE DISTRICT OF ARIZONA
10
     USAA Casualty Insurance Company as                     NO.
11   Subrogee of Patrick Maley,
                                                            VERIFICATION OF CALE
12                             Plaintiff,                   JOHNSON IN SUPPORT OF
                                                            DEFENDANT'S NOTICE OF
13            vs.                                           REMOVAL OF CIVIL ACTION
14   Nuvo Residential, LLC dba NuvoH2O,                     (formerly Maricopa County Superior
     Hydro Systems International, Inc., and                 Court Case No. CV2022-010429)
15   Does I to 20, inclusive,
16                             Defendants.
17
18            CALE S. JOHNSON hereby declares as follows:

19            1.         My name is Cale S. Johnson. I am an attorney in the law firm of Quarles &

20   Brady LLP. I am counsel of record for Defendant Hydro Systems International, Inc.

21   (hereinafter, "Defendant") in the above-captioned action. This Declaration is offered in

22   support of Defendant's Notice of Removal of Action and is based on my personal

23   knowledge.

24            2.         In accordance with 28 U.S.C. § 1446(a) and L.R. Civ. 3.6(b), Defendant has

25   filed a true and complete copy of all pleadings and other documents that were previously

26   filed with the Maricopa County Superior Court, contemporaneously with the filing of

27   Defendants' Notice of Removal of Action.

28


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      Case 2:22-cv-01512-SPL Document 1-3 Filed 09/07/22 Page 21 of 35



 1            I declare under the penalty of perjury that the foregoing is true and correct.
 2            DATED this 7th day of September, 2022.
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 4                                               By
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     QB\175572.00006\75664921.1
Case 2:22-cv-01512-SPL Document 1-3 Filed 09/07/22 Page 22 of 35




                      EXHIBIT D
      Case 2:22-cv-01512-SPL Document 1-3 Filed 09/07/22 Page 23 of 35



 1           Quarles & Brady LLP
                One Renaissance Square
               Two North Central Avenue
 2                Phoenix, AZ 85004
                Telephone 602.229.5200
 3
     Benjamin C. Nielsen (029689)
 4   Benjamin.nielsen@quarles.com
     Cale S. Johnson (035557)
 5   Cale.johnson@quarles.com
 6   Attorneys for Defendant Hydro Systems
     International, Inc.
 7
 8                                IN THE UNITED STATES DISTRICT COURT
 9                                        FOR THE DISTRICT OF ARIZONA
10
     USAA Casualty Insurance Company as                   NO.
11   Subrogee of Patrick Maley,
                                                          DECLARATION OF CARLA
12                          Plaintiff,                    WALTERS IN SUPPORT OF
                                                          DEFENDANT'S NOTICE OF
13            vs.                                         REMOVAL OF CIVIL ACTION
14   Nuvo Residential, LLC dba NuvoH2O,                   (formerly Maricopa County Superior
     Hydro Systems International, Inc., and               Court Case No. CV2022-010429)
15   Does I to 20, inclusive,
16                          Defendants.
17
18            CARLA WALTERS, hereby declares as follows:
19            My name is Carla Walters. I am a paralegal in the law firm of Quarles & Brady
20   LLP. This Declaration is offered in support of Defendants' Notice of Removal and is based
21   upon my personal knowledge and investigation.
22            1.       Attached hereto as Exhibit 1 is the Arizona Department of Insurance and
23   Financial Institutions/NAIC State Based Systems search page showing that USAA Casualty
24   Insurance Company is domiciled in Texas.
25            2.       Attached hereto as Exhibit 2 is a list from the Texas Department of Insurance
26   showing that USAA Casualty Insurance Company is domiciled in Texas.
27            3.       Exhibits 1 and 2, attached respectively hereto, are true and authentic copies
28


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      Case 2:22-cv-01512-SPL Document 1-3 Filed 09/07/22 Page 24 of 35



 1   as found at:
 2                 • Exhibit 1 - https://difi.az.gov/license-search
 3                 • Exhibit 2 - https://appscenter.tdi.texas.gov/tdireports/p/externalReports
 4            I declare under the penalty of perjury that the foregoing is true and correct.
 5            DATED this 7th day of September, 2022.
 6
 7
                                                           Carla Walters
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Case 2:22-cv-01512-SPL Document 1-3 Filed 09/07/22 Page 25 of 35




                       Exhibit 1
9/7/22, 4:25 PM        Case 2:22-cv-01512-SPL Document 1-3 Lookup
                                                    Company FiledSummary
                                                                  09/07/22 Page 26 of 35


                                                                                                                                                                          

                       Arizona
                       State Based Systems


    Company Type:             Property & Casualty Insurer



    Demographics

      Company Name: USAA CASUALTY INSURANCE COMPANY                                                                            SBS Company Number: 49208637
      NAIC CoCode: 25968                                 Short Name: USAA CASUA                                                Domicile Type: Foreign
      State of Domicile: Texas                           Country of Domicile: United States                                    NAIC Group Number: 200 - UNITED SERV
                                                                                                                           AUTOMOBILE ASSN GRP
      Organization Type: STOCK CORPORATION               Date of Incorporation: 09/06/1968                                  Merger Flag: Yes




    DBA Name

   No results found.



    Address

     Business Address                     Mailing Address                                Statutory Home Office Address                       Main Administrative Office
     9800 Fredericksburg Road,            9800 FREDERICKSBURG ROAD                       9800 FREDERICKSBURG ROAD                            Address
     External Reporting D03W              SAN ANTONIO, TX 78288                          SAN ANTONIO, TX 78288                               9800 FREDERICKSBURG ROAD
     San Antonio, TX 78288                United States                                  United States                                       SAN ANTONIO, TX 78288
     United States                                                                                                                           United States



    Phone, Email, Website

      Phone                                              Email                                                                 Website


        Type                       Number                  Type E-mail                                                          Type            Website
        Main Admin Office Primary (210) 498-               Email ExternalReporting@usaa.com                                     Website         www.usaa.com
        Phone                      8000
        Statutory Home Office      (210) 498-
        Primary Phone              2211
        Other Phone                (210) 498-       Company Type
                                   1411
        Other Phone                (210) 531-
                                   8722
                                                     Company Type: Property & Casualty Insurer
                                                         Status: Active                                                        Status Reason:
      Status Date: 12/04/2012                            Effective Date: 12/28/1990                                            Legacy State ID: 25968
      Expiration Date:                                   Issue Date: 12/28/1990                                                Approval Date: 12/28/1990
      File Date: 12/28/1990                              Articles of Incorporation Received: No                                Article No:
      COA Number:


    Line Of Business
                                                © 2022 National Association of Insurance Commissioners. All rights reserved.


https://sbs.naic.org/solar-external-lookup/lookup/company/summary/49208637?jurisdiction=AZ                                                                                    1/3
9/7/22, 4:25 PM         Case 2:22-cv-01512-SPL Document 1-3 Lookup
                                                     Company FiledSummary
                                                                   09/07/22 Page 27 of 35
     Line of Business                                                                                Citation Type                    Effective Date
     Casualty Without Workers’ Compensation                                                                                           12/28/1990
     Marine And Transportation                                                                                                        12/28/1990
     Property                                                                                                                         12/28/1990
     Vehicle                                                                                                                          12/28/1990




    Contact

                                 Preferred
     Contact Type                Name      Name                            E-mail                                   Phone               Address
     MARKET CONDUCT ANNUAL                 Edwin Taylor                      Business Email:                          Business Primary Statutory Home Office
     STATEMENT CONTACT                                                     Edwin.Taylor@usaa.com                      Phone:           Address
                                                                                                                    (210) 498-5466      9800 Fredericksburg Road
                                                                                                                                        San Antonio, TX
                                                                                                                                        United States County
                                                                                                                                        78288
     POLICYOWNER RELATIONS                 Jeffrey Collignon                 Business Email:                          Business Primary Other
     CONTACT AND ADDRESS                                                   jeffrey.collignon@usaa.com                 Phone:            9800 Fredericksburg Road
                                                                                                                    210-913-7998        San Antonio, TX
                                                                                                                                        United States County
                                                                                                                                        78288
     ELECTRONIC CONTACT                    Ann Eller                                                                  Business Primary Other
     PERSON AND ADDRESS                                                                                               Phone:            9800 Fredericksburg Road
                                                                                                                    210-531-8722        San Antonio, TX
                                                                                                                                        United States County
                                                                                                                                        78288
     CURRENT FINANCIAL                     Ann Eller                         Business Email:                          Business Fax      Other
     STATEMENT CONTACT                                                     ExternalReporting@usaa.com                 Phone:            9800 Fredericksburg Road
                                                                                                                    210-498-2723        San Antonio, TX
                                                                                                                      Business Primary United States County
                                                                                                                      Phone:           78288
                                                                                                                    210-531-8722
     STATUTORY AGENT                       Director of Insurance                                                      Business Primary Other
                                           and Financial Institutions                                                 Phone:            Attention: Director As
                                                                                                                    (602) 364-3100      Statutory Agent
                                                                                                                                        Arizona Department of
                                                                                                                                        Insurance and Financial
                                                                                                                                        Institutions
                                                                                                                                        100 N 15TH AVE STE 261
                                                                                                                                        PHOENIX, AZ
                                                                                                                                        United States County
                                                                                                                                        85007-2630
     GOVERNMENT RELATIONS                  Robert Gilbert                    Business Email:                          Business Primary Other
     CONTACT AND ADDRESS                                                   bo.gilbert@usaa.com                        Phone:            9800 Fredericksburg Road
                                                                                                                    210-913-1812        San Antonio, TX
                                                                                                                                        United States County
                                                                                                                                        78288
     MARKET CONDUCT                        Christopher Hobert                Business Email:                          Business Primary Other
     CONTACT AND ADDRESS                                                   christopher.hobert@usaa.com Phone:                           9800 Fredericksburg Rd.
                                                                                                                    623-715-8406        San Antonio, TX
                                                                                                                                        United States County
                                                                                                                                        78288




    Branch Offices
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https://sbs.naic.org/solar-external-lookup/lookup/company/summary/49208637?jurisdiction=AZ                                                                         2/3
9/7/22, 4:25 PM          Case 2:22-cv-01512-SPL Document 1-3 Lookup
                                                      Company FiledSummary
                                                                    09/07/22 Page 28 of 35



    Company Merger

     SBS                                    Non-Surviving
     Company      NAIC     Non-Surviving    Company             Terminated           Transferred          Merger
     Number       CoCode Company            Type                Appointments Appointments Date                             Comments
     49208637     25968    USAA CASUALTY    Property &                                                    12/28/1990 USAA CASUALTY INS. CO. (TX) MERGED INTO
                           INSURANCE        Casualty                                                                 USAA CASUA LTY INS. CO. OF FLORIDA (FL) TO
                           COMPANY          Insurer                                                                        REDOMESTICATE

     Companies Absorbed


     SBS
     Company       NAIC                         Terminated            Transferred           Merger
     Number        CoCode Surviving Company     Appointments Appointments Date                              Comments
     49208637      25968    USAA CASUALTY                                                   12/28/1990 USAA CASUALTY INS. CO. (TX) MERGED INTO USAA
                            INSURANCE                                                                  CASUA LTY INS. CO. OF FLORIDA (FL) TO
                            COMPANY                                                                         REDOMESTICATE

     Absorbed By




    Name Change History

   No results found.




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https://sbs.naic.org/solar-external-lookup/lookup/company/summary/49208637?jurisdiction=AZ                                                                        3/3
Case 2:22-cv-01512-SPL Document 1-3 Filed 09/07/22 Page 29 of 35




                       Exhibit 2
Case 2:22-cv-01512-SPL Document 1-3 Filed 09/07/22 Page 30 of 35
Case 2:22-cv-01512-SPL Document 1-3 Filed 09/07/22 Page 31 of 35
Case 2:22-cv-01512-SPL Document 1-3 Filed 09/07/22 Page 32 of 35




                      EXHIBIT E
      Case 2:22-cv-01512-SPL Document 1-3 Filed 09/07/22 Page 33 of 35




 1           Quarles & Brady LLP
                One Renaissance Square
               Two North Central Avenue
 2               Phoenix, AZ 85004
                  TELEPHONE 602.229.5200
 3
     Benjamin C. Nielsen (029689)
 4   Benjamin.nielsen@quarles.com
     Cale S. Johnson (035557)
 5   Cale.johnson@quarles.com
 6   Attorneys for Defendant Hydro Systems
     International, Inc.
 7
 8                      IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
 9                                   IN AND FOR THE COUNTY OF MARICOPA
10
11   USAA CASUALTY INSURANCE                            NO. CV2022-010429
     COMPANY as Subrogee of Patrick Maley,
12                                                      DEFENDANT HYDRO SYSTEMS
                              Plaintiff,                INTERNATIONAL, INC.'S NOTICE
13                                                      OF REMOVAL
              vs.
14                                                      Assigned to the Hon. Jay Adelman
     NUVO RESIDENTIAL, LLC dba
15   NUVOH2O, HYDRO SYSTEMS
     INTERNATIONAL, INC., and Does I to
16   20, inclusive,
17                            Defendants.
18
19            PLEASE TAKE NOTICE that on September 7, 2022, Defendant Hydro Systems
20   International, Inc. ("Hydro"), by and through undersigned counsel, filed for removal of this
21   case to the United States District Court for the District of Arizona, which completes the
22   removal of action number CV2022-010429, pursuant to 28 U.S.C. §§ 1332, 1441, and 1446.
23   A copy of the Notice of Removal filed in federal court (without exhibits) is attached hereto
24   as Exhibit A.
25            Therefore, Hydro has taken all steps to effect removal of this case, and this Court
26




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      Case 2:22-cv-01512-SPL Document 1-3 Filed 09/07/22 Page 34 of 35




 1   may proceed no further unless and until the case is remanded by Order of the United States
 2   District Court. See 28 U.S.C. § 1446(d).
 3            Hydro further certifies that Plaintiff has been notified of this removal and served
 4   with a copy of the Notice of Removal.
 5            RESPECTFULLY SUBMITTED this 7th day of September, 2022.
 6                                              QUARLES & BRADY LLP
                                                One Renaissance Square
 7                                              Two North Central Avenue
                                                Phoenix, AZ 85004
 8
 9
                                                By     /s/ Cale S. Johnson
10                                                   Benjamin C. Nielsen
                                                     Cale S. Johnson
11
                                                Attorneys for Defendant Hydro Systems
12                                              International, Inc.
13
     ORIGINAL of the foregoing efiled and a COPY electronically delivered this 7th day of
14   September, 2022, to:
15   Hon. Jay Adelman
     Maricopa County Superior Court
16
     COPY of the foregoing emailed/mailed this 7th day of September, 2022, to:
17
     John E. Charland
18   The Charland Law Firm, LLC
     202 East Earll Drive, Suite 490
19   Phoenix, AZ 85012
     litigation@hcarlandlawfirm.com
20   Attorneys for Plaintiff
21
      /s/ Kim Simmons
22
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                                                     -2-
     QB\175572.00006\75666100.1
                 Case 2:22-cv-01512-SPL Document 1-3 Filed 09/07/22 Page 35 of 35


Simmons, Kimberly (PHX x3293)

From:                TurboCourt Customer Service <CustomerService@TurboCourt.com>
Sent:                Wednesday, September 7, 2022 5:33 PM
To:                  Simmons, Kimberly (PHX x3293)
Subject:             E-Filing Status: Form Set # 7175155 Delivered


PLEASE DO NOT REPLY TO THIS EMAIL.

AZTurboCourt Form Set # 7175155 has been DELIVERED to Maricopa County ‐ Superior Court.

You will be notified when your documents have been processed by the court.

You MUST log in and check your filing status online at http://turbocourt.com/ [turbocourt.com].

Here are your filing details:
Case Number: CV2022010429 (Note: If this filing is for case initiation, you will receive a separate notification when the
case # is assigned.)

Case Title: U S A A Casualty Insurance Company Vs. Nuvo Reside

Filed By: Kim Simmons

AZTurboCourt Form Set: #7175155
AOC Submission ID #2446700

Keyword/Matter #:
Delivery Date and Time: Sep 07, 2022 5:32 PM MST

Forms:



Attached Documents:
Notice of Removal to Federal Court: Defendant Hydro Systems International, Inc.'s Notice of Removal
Exhibit/Attachment (Supporting): Exhibit A

Fees Paid:

Total Filing Fees: $0.00
Provider Fee: $6.50
E‐Payment Fee: $0.20
Total Amount Paid: $6.70

You MUST log in and check your filing status and the e‐service status of this form set online at http://turbocourt.com/
[turbocourt.com].
If you have questions about your filing, please contact AOC Support Services, phone number 602‐452‐3519 or 1‐800‐
720‐7743, or e‐mail pasupport@courts.az.gov.
Please have your AZTurboCourt Form Set # and AOC Submission ID available.


                                                             1
